 1 DENNIS A. RASMUSSEN (SB# 153479)
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   Attorney for Constitution Association, Inc.                                            FILED·
   GEORGE F. X. ROMBACH, PhD, JD, CPA,
 3 27636 Ynez Road, Suite L-7#111                                                         SEP 2 4 2021
   Temecula, CA 92591                                                            CLERK, .S. DISTRICT COURT
 4
   (949) 500-1850                                                             SOUTHER DISTRICT OF CALIFORNIA
                                                                             BY                         DEPUTY
 5 gfxr@yahoo.com
   Plaintiffi·, In Propria Persona
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 8                                UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA

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12 CONSTITUTION ASSOCIATION, INC., by                       ) Case No. 20CV2379 TWR BLM
   its founders, GEORGE F. X. ROMBACH                       )
13 and DOUGLAS V. GIBBS as well as other                    )
   officers and members of the Association et. al.          ) SUPPLEMENT TO AFFIDAVIT OF
14                                                          ) SERVICE BY CERTIFIED MAIL
                    Plaintiffs,                             )
15                                                          ) Person Served:
                                                            )      Defendant KAMALA DEVI HARRJS
16                                                          )
            vs.                                             ) Date Served: March 9, 2021
17                                                          )
                                                            )
18                                                          )
                                                            )   Judge:           Hon. Todd W. Robinson
19 KAMALA DEVI HARRJS,                                      )
                                                            )   Department:      Courtroom 3A
                    Defendant.
     _______________
20                                                          )
                                                            )   Complaint Filed: December 7, 2020
21

22
            Plaintiff GEORGE F. X. ROMBACH requests that the court enter this supplement to
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     the Affidavit of Service by Certified Mail of defendant KAMALA DEVI HARRIS . In support
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     of this request plaintiff relies upon the Declaration of George F.X. Rombach in support hereof;
25
     the Affidavit of Service by Certified Mail executed by Louis Gerrick on file herein (Exhibit B);
26

27 the U nited States Postal Service Tracking Intranet Tracking Number Result for article Number

28 7019 1120 0001 3834 2475, including the facsimile delivery signature and address of the

                                                             I.
                                   Supplement to Affidavit of Service by Certified Mail
1 representative ofthe Defendant, (Exhibit A); as well as the record in this case.

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     Dated: September 24, 2021
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6                                                   Plaintiff, In Propria Persona
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                                 Supplement to Affidavit of Service by Certified Mail
